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                         U NITED STA TES D ISTR IC T CO U RT
                         SO UTH ERN DISTR ICT O F FLO RID A
                                 M IAM ID IVISIO N

                              CA SE N O .1:17-cv-22237-JLK

  M AZH ARUL ISLAM ,

        Plaintiff,


  JOHN F.KELLEY ,eta1.,

        Defendants.


   OR DER A FFIRM IN G M A G ISTR ATE'S R EPO R T AND R EC O M M EN DA TIO N
    AN D GR ANTIN G D EFEN DAN TS'M O TIO N FO R SUM M AR Y JU DG M EN T

        THISMATTER isbeforetheCourtonPlaintiffMazharullslam'sObjections(DE
  29)to M agistrate JudgeJacquelineBecerra'sM ay 16,2019ReportandRecom mendation
  (DE 28),which recommendsthattheCourtgrantDefendants'M otion forSummary
  Judgment(DE 19)anddenyPlaintiffsCrossM otion forSummaryJudgment(DE 23).
                                    1. BA CK G R O UN D

        ln2013,animmigrationjudgegrantedPlaintiffasylum intheUnited Statesbased
 upon hisfearofpoliticalpersecution in hisnative country ofB angladesh. See R & R at

 3,DE 28. Justover ayearlattr,Plaintifffiled an application w ith the U .S.Citizenship

 andlmmigrationService(theCCUSCIS''ortheisagtncy'')to adjusthisimmigrationstatus
 to kslaw fulperm anentresident.''1d. The agency denied Plaintiff sapplication,citing his

 involvcmentwiththeBangladesh NationalistParty (ççBNP''),whichtheagency found to
 be a titerroristorganization''asdeined by the Im m igration and N ationality A ct. See id.
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  at3-6;8U.S.C.j 1182(a)(3)(B)(barring any alien whoisaiimemberofaterrorist
  organization''from being adm itted to the United States, or,in the casc ofan application

  toadjuststatuspursuanttoj1159(b),from beingeligibleforsuch adjustment) Plaintiff  .



  now bringsthisaction challengingtheUSCIS'Sdecisionandseekingjudicialreview
  undertheAdministrativeProcedureAct(APA),5U.S.C.jj701-706.
         Plaintiff sA m ended Com plaintraiscsthrce challengesto theU SCIS'Sdecision.

  First,Plaintiffclaim sthe agency iscollaterally estopped from dcnying hisapplication

  undertheso-calledClterrorism barr''arguingthattheimmigrationjudgealreadydecidcd
  thisissue in Plaintifpsfavorduring his earlierasylum proceeding. See Am .Com pl.2-4,

  DE 12. Second,Plaintiffclaim sthe agency's dccision isûsarbitrary and capricious''under

  theAPA because there w asno show ing thattheBNP itselfauthorized any actsof

  violence by individualm em bersofthe party. Id at4-5.Third,Plaintiffclaim sthe
                                                   .




  agency'sdecision should be setasidebecause the definition ofikterroristorganization''is

  unconstitutionally vague and overbroad. 1d.at6-7.

        O n M ay 16,2019,the M agistratt Judge entercd herReportand Recom m endation

  ontheparties'cross-motionsforsummaryjudgment.5'
                                                ceDE 28.Astocollateral
  estoppel,the M agistrateJudge found thatthe agency wasnotbarred from denying

 Plaintifpsadjustmentapplication,becausetheliterroristorganization''issuewasnot
 ûkactually litigattd''in the asylum proceeding. 1d at14.Specifically,the M agistrate
                                                   .




 Judge notesthatthere islino evidencethateitherparty raised orlitigated the applicability

 ofthe terrorism baratthe asylum hearing,''and Céthe palrties did notraisethe issue of

 lslam 's inadm issibility in theirbriefs orclosing argum entsto the Im m igration Judge.''
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  ld. The M agistrate Judge also found thatthe agency'sdecision w asnotSsarbitrary and

  capricious''because the agency dcexplicitly addressed the factthatBNP'S leadership hasat

  leasttacitly authorized violence by its m tm bers.''f# at20-21.Finally,the M agistrate
                                                       .




  JudgerejectedPlaintiffsconstitutionalchallenges.f#.at23-25.
         PlaintiffthentimelyfiledobjectionstotheReportandRecommendation.SeeDE
  29.Plaintiffargues thatthe M agistrate Judge errtd in fsnding thatthe terrorism -barw as

  nottkactually litigattd''in the asylum proceeding. 1d.at4, Citing the Fif'th Circuit's

  decision in Amrollah v.Napolitano,710 F.3d 568 (5th Cir.2013),Plaintiffarguesthatthe
  issuew asindeed ûtraised,exam ined and litigated early on in the asylum proceedings,''

  althoughheconcedesitwasonlykslightly''litigated.Seeid.at6.Healsoobjectstothe
  M agistrate Judge's ûnding thatthe agency'sdecision wasnot(darbitrary and capricious,''

  claimingthatmere iûtacit''authorization ofviolenceisinsufscient,andtûgtlhere isno
  evidence in the record,anywhere,thatany BN P leaderadually authorized terrorist

  activity.''See id.at6-8. Finally,Plaintiffclaim sthe M agistrate Judgeerred in snding

 thatthe Sûterroristorganization''barisnotunconstitutionally vague or overbroad and that

 the M agistrate Judge failed to considertherelevantstatutory provisions f#.at9-12.
                                                                          .




                                lI. LEG A L STAND AR DS

        SummaryjudgmentisappropriateCkifthemovantshowsthatthereisno genuine
 disputeastoanymaterialfactandthemovantisentitledtojudgmentasamatteroflaw.''
 Fed.R.Civ.P.56(a).Cûl-lowever,even inthecontextofsummaryjudgment,an agency
 action isentitled to greatdeference.''PreserveEndangered Areasofcobb'sHistory,Inc.
 v.U.S.Army CorpsofEng 'rs,87 F.3d 1242,1246 (1lth Cir.1996).
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         Underthe APA ,agency actions,sndings,and conclusions m ay be setaside only if

  they are i'arbitrary,capricious,an abuse ofdiscretion, orothtrwise notin accordance with

  law ,''ordûunsupported by substantialevidence.'' 5 U .S C.j706(2)(A),(E).Thestandard
                                                            .




  isçkexcecdinglydeferential.''Defendersof Wildlfev,liS.Dep'tofNavy,733F.3d 1106,
  11l5(11thCir.2013).ûs-l-hecourt'sroleistoensurethattheagency cametoarational
  conclusion,nottoconductitsowninvestigationandsubstituteitsownjudgmentforthe
  administrativeagency'sdecision.''1d.(internalquotation marksomitted).Inmakingthis
  determ ination,the court'sreview isbased strictly on the adm inistrative record isthatw as

  before the ageney atthe tim e ofitsdecision.'' See Salmeron-salm eron v. Spivey,N o.17-

  15152,2019W L 2461713,at*2 (11th Cir.2019).In thatsense,thedistrictcourtin APA
  castsSûsits asan appellate tribunal,''and the Sstentire cast'on review isa question of

  law.''SeeAm.Bioscience,Inc.v.Thompson,269 F.3d 1077,1083 (D.C.Cir.2001).
                                     111. D ISCU SSIO N

 A.     CollateralEstoppelD oesN otB ar The Agency's Decision Because The
        Terrorism BarW asN otdiA ctually Litigated''ln The A sylum Proceeding

        TheM agistrateJudgeproperlyrejectedPlaintifpscollateralestoppelargument.
 Collateralestoppelonly barsthe re-litigation ofissuesthatw ere Ssactually litigated and

 determ ined''in a priorsuit.SeeB & B H ardward,Inc v.H argis Industries,Inc.,135 S.
                                                        .




 Ct.1293,1303(20l5)(quotingRestatement(Sccond)ofJudgmentsj27 (1980));see
 alsoBalocov.Drummond Co.,lnc.,767 F.3d 1229,1251(11th Cir.2014).By contrast,
 collateralestoppelgenerally doesnotapply to issuesthatwereuncontested in an earlier

 proceeding. See Tampa Bay W aterv.HD R Eng '
                                            g,Inc., 721F.
                                                        3d 1171,1179 (11th Cir.
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  2013),overruled on othergroundsby CSX Transp.,lnc.v.Gen.M ills,lnc.,846F.3d
  1333,1340(11thCir.2017)(findingcollateralestoppelinapplicablebecauseprior
  decision dsw asnotbased on afactfinder's determ ination ofcausation after an adversarial

  proceedingbutratheronasetofjointstipulations'').
         The M agistrate Judge correctly ruled thatthe terrorism -bar issue w asnotdsactually

  litigated''intheearlierasylum proceeding.lndeed,PlaintiffsObjectionsconcedethat
  the USCIS did notikactively''ordiverbally contest''this issue in the asylum proceeding,

  and thatthe issue w asonly islightly''litigated there. See DE 29 at5-6. Thisalone

  foreclosesany argum entthatthe issuew asikactually litigated''forcollateralestoppel

  purposts. M oreover,thtrew asno evidence orargum entpresented atthe asylum hearing

  regardingwhethertheBNP wasaterroristorganization,andtheimmigrationjudgt'sone-
  page ordergranting asylum kicontainsno m ention oftheterrorism inadm issibility bar.''

 See R & R at3. W hile Plaintiffpointsto portions ofthe adm inistrativerecord w here he

  claim stheterrorism -barw as'iraised,explored,and litigated,''these record citationsdo

 notin factm ention the terrorism -baror discussw hethertheBNP qualifesasa iiterrorist

  organization.''See DE 29 at5.

        The Courtalso agreesw ith theM agistrate Judge thatPlaintifpsreliance on

 Amrollah ism isplaced. In stark contrastto Plaintiff sasylum proceeding,in Am rollah,

 ikgtlhegovernmentcross-examinedgtheplaintifflextensivelyabouthissupportofthe
 mujahedeenmovementandMeK duringtheasylum proceeding,''andtheimmigration
 judgespeeitically foundthattheplaintiffSddid notcommitany violentact''thatwould
 renderhim ineligible forasylum .SeeAm rollah,710 F.3d at570-71. Thus, in thatcase,
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  the terrorism -barissue wtzuçactually litigated and decided, whichjustifiedbarringthe

  governmentfrom laterdenyingtheplaintiffsapplicationtoadjuststatus.Here,the
  adm inistrative record shows thatthe itactually litigated''requirem entwasnotsatisfied

  during the asylum proceeding,and therefore the agency'sdecision isnotbarred by

  collateralestoppel.l

  B.     TheA gency's Decision lsN either SsA rbitrary A nd C apricious''N or
         idunsupported By SubstantialEvidence''

         TheCourtis also unpersuaded by Plaintiffsclaim thatthe agency'sdecision is

  çsarbitrary and capricious''orS'unsupported by substantialevidence.'' Plaintiffcannot

  credibly claim thattdgtlhere isnolegalauthority orprecedentforpermittingmere itacit'
  authorization ofviolentactsto am ountto terroristactivity underthe statute.''See DE 29

  at7.Thatargumentisrefutedbycaselaw citedinPlaintiffsownobjections,whichhold
  thatiiauthorizationmay bereasonably inferredfrom,amongotherthings,thefactthat
  m ostofan organization's m em berscom m itterroristactivity orfrom a failure ofa group's

  leadership to condem n orcurtailitsm em bers'terroristads.'' See Uddin v.Attorney Gen.

  UnitedStates,870 F.3d 282,292 (3d Cir.2017)(emphasisadded).
        Plaintiffalso arguesthere is Sino evidence ofany authorization by the BN P orits

  leadersofany acts ofviolence orterrorism .''See DE 29 at6.A fterde novo review ,the

 Courtdisagreesw ith Plaintifpsreading ofthe adm inistrativerecord. Indeed,the agency



 1W hilePlaintiffalsoobjectstotheMagistrate Judge'sfindingthatthe issueswerenot
 tiidentical''inthcasylum proceedingandadjustment-of-statusproceeding,becausethe
 ûkactually litigated''elem entw ould notbe satistled regardless, the Courtneed notaddress
 the rem aining elem entsofcollateralestoppel, including the liidenticalissues''elem ent.
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     cited substantialevidence supporting itsfinding thatBNP leaders eitherauthorized,

  participated in,orthreatened ad sofviolence by individualBN P m em bers.z Thus, under

  the deferentialAPA standard ofreview ,the Courttsndsthatthe ageney'sdecision is

  biased on substantialevidence.

  C.       The Sd-rerroristO rganization''Deinition lsN otUnconstitutionally V ague O r
           Overbroad

           A statute is tsim perm issibly vague''only ifitûkfailsto provide aperson ofordinary

  intelligence fairnotice ofw hatis prohibited,orisso standardlessthatitauthorizesor

  encouragesseriously discrim inatory enforcem ent.'' FCC v.Fox Television Stations, Inc.,

  567U.S.239,253(2012). To succeed on thisclaim,aplaintifflimustdemonstratethat
  the law isunconstitutionally vague in al1ofitsapplications.'' Stardust, 300/LLC v.Cl'@

  ofBrookhaven,899F.3d 1164,l176(11thCir.2018)(internalquotationmarksomitted).




 ?See, e.g.,DE 18-2at27(quotingFeb.23,2013U.S.DepartmentofStatereportstating:
 $(On M arch 11,2013,policeraided the opposition BN P'Scentralofice and arrested m ore
 than 150partyofticialsduringaBNPrally.PoliceclaimedtheyfoundM olotovcocktails
 and bom b-making m aterials inside theBNP tpf#ce,''thoughtheBNP deniedthepolice's
                                                 .

 claim.)(emphasisadded);id.at28(citingFeb.2000reportbyBangladeshCommitteeto
 ProtectJournalistsnotingthatksgllocalBNP activistsand leadershavealsobeen llhked to
 allegationsofintimidationandviolencedirectedagalhstjournalistscriticalofthept7r/y         .

 and itsleadersb')(emphasisadded);id.at29 (tiAlthough BNP nationalleadership has
 consistently denied intentionalinvolvem entin actsofintim idation orviolence, witnesses
 havereported receiving directthreatsh'om localptzr/yleaders.'bq(emphasisadded);id.
                                                         .

 at27(quoting June 1996Human RightsW atch reportstating:dslNjeithertheBNP northe
 A wam iLeague has taken affirm ative steps to ensurethattheirsupporters and party
 cadres desistfrom the kind ofviolence thatcharacterized theirearlierpoliticalfeuding. . .
 .
  '');id.(quoting June 1996 HumanRightsW atch reportandnoting:içBeyondm erely
 tacitly condoningtheviolence,themajorpoliticalparties,including theBNP,iorganize
 andsupportactivistand militantyouth andstudentwings.'t')(emphasisadded).
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         H ere,the statute statesthatany alien who iiis a m em berofa terroristorganization''

  isiiineligible to be adm itted to the United States.''8U.S.C.j 1182(a)(3)(B)(i)(V1).ln

  turn,dsterroristorganization''isdefined asa ksgroup oftw o orm ore individuals whether
                                                                                ,


  organized ornot,w hich engagesin , . . rterroristactivitiesl.''1d.j 1182(a)(3)(B)(vi)(111).

  And (tterroristactivities''include, am ong otherthings,the use ofany iiexplosive firearm ,
                                                                                    ,


  orotherweapon ordangerousdevice . . . w ith intentto endanger ..,the safety ofone or

  m ore individualsorto cause substantialdam ageto property,''orto ikthreatgenj,attempt,

  orconspirgej''todoso.1d.j 1182(a)(3)(B)(iii)(V).
        A iiperson ofordinary intelligence''w ould understand thatbeing a m em berofa

  group thatengagesin violence and intim idation againstotherpoliticalparties, police,and

 journalists- includingthroughtheuseofM olotovcocktailsandotherexplosives- and
 thatdoesso w ith authorization from the group'sleadership, qualifiesasbeing a kdm em ber

 ofaterroristorganization''underj 1182(a)(3)(B).Similarly,thtstatuteisnottdso
 standardlessthatitauthorizcs orencouragesseriously discrim inatory enforcem ent''in a11

 cases,and the Courtagreesw ith the M agistrateJudge thatthe terrorism -barw asnot

 çioverbroadly applied''in thiscase.

                                   lV . CO NC LU SIO N

        AfterJe novs review ,the Courtagreeswith theM agistrate Judge'swell-reasoned

 recommendationthatDefendantsareentitledtosummaryjudgmentonPlaintifpsclaims,
 Accordingly,itis O RD ER ED,A DJUD G ED ,and D ECREED as follow s:

        1. M agistrateJudgeBecerra'sM ay 16,2019 Reportand Recommendation(DE
           28)be,andthesamehereby is,AFFIRM ED and ADO PTED;

                                             8
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           D efendants'M otion forSum m ary Judgm entfiled M arch 23, 2018(DE 19)be,

            and the sam e hereby is,G R AN TED ;and

        3. Plaintiffs CrossM otion forSum m ary Judgm entfiled June 4, 2018(DE 23)be,

           and the sam e hertby is,DENIED .

        D O NE and O R DERED in Cham bersattheJam esLaw renceK ing FederalJustice

  Building and United StatesCourthouse,M iam i, Florida,this28th day ofJune,2019.


                                                                           K
                                                 M ES LA W REN CE KIN G
                                               UN ITED STA TES D ISTRICT JU


 cc:    M agistrate Judge Jacqueline Becerra
        A llcounselofrecord




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